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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


 Liberty Mutual Personal Insurance Company,      :
                                                 :
                Plaintiff,                       :      Case No.: 3:23-cv-2052
                                                 :
        v.                                       :      Judge:
                                                 :
 Jon Cross,                                      :
                                                 :
 and                                             :
                                                 :
 Christina Cross,                                :
                                                 :
                Defendants.                      :


                                         COMPLAINT

       Now comes Liberty Mutual Personal Insurance Company (“Liberty Mutual”), by and

through counsel, and states the following as its Complaint against Defendants Jon Cross and

Christina Cross (collectively, “Defendants”).

                                           PARTIES

       1.      Liberty Mutual is a New Hampshire corporation, with its principal place of business

in Boston, Massachusetts.

       2.      Defendant Jon Cross is an individual residing in Findlay, Ohio.

       3.      Defendant Christina Cross is an individual residing in Findlay, Ohio.

                                JURISDICTION AND VENUE

       4.      Liberty Mutual brings this action under 28 U.S.C. § 2201, et seq., and Rule 57 of

the Federal Rules of Civil Procedure.

       5.      This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because (1) there

is complete diversity of citizenship between Liberty Mutual, a citizen of New Hampshire or
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Massachusetts, and Defendants, citizens of Ohio; and (2) the amount in controversy exceeds

$75,000.

       6.       Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(1) and/or (2)

because a substantial part of the events giving rise to Liberty Mutual’s claims occurred in Hardin

County, which is within the Western Division of the District Court for the Northern District of

Ohio and/or because Defendants reside in the Western Division of the District Court for the

Northern District of Ohio.

                             FACTS COMMON TO ALL CLAIMS

        UNDERLYING INCIDENT AND DEFENDANTS’ INSURANCE POLICY

       7.       Defendants resided at 16511 Maureen Drive, Kenton, Ohio 43326.

       8.       On August 5, 2023, a fire occurred at 16511 Maureen Drive, Kenton, Ohio 43326

(the “Loss”).

       9.       Defendants carry a homeowners policy with Liberty Mutual, Policy No. H3V-288-

038024-70 (the “Policy”). A certified copy of the Policy is attached here as Exhibit A.

       10.      The Policy lists 16511 Maureen Drive, Kenton, Ohio 43326 as covered dwelling

(the “Subject Dwelling”).

       11.      The Policy’s base Dwelling Limits are $624,400.

       12.      The Policy contains an Inflation Protection Endorsement, which increases the

Dwelling Limits to $634,390.40. (Exhibit A, Policy Declarations.)

       13.      The Policy provides Replacement Cost Coverage to the Subject Dwelling pursuant

to the limits describe above.

       14.      The Policy also provides Actual Cash Value coverage to Defendants’ personal

property subject to non-recoverable depreciation.

       15.      Relevant here is the Home Protector Plus Endorsement (FMHO 3331 0312), which


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reads as follows:


       HOME PROTECTOR PLUS ENDORSEMENT
       B. REPLACEMENT COST PROVISION - DWELLING AND PERSONAL
       PROPERTY
       You must meet the following additional Section I Condition for this provision to
       apply:
              17. Additions or Changes to Dwelling - Notice to Company. You must
              inform us within 90 days of the start of any additions, alterations or
              improvements to the dwelling that will increase the replacement cost of
              the dwelling by $5,000 or more.
       If you meet Condition 17, then Section I, Condition 3. Loss Settlement, is deleted
       and replaced by the following:
              3. Loss Settlement. Covered property losses are settled as follows:
                     a. The applicable limit of liability for Buildings under Coverage A
                     or B is the replacement cost, after application of deductible and
                     without deduction for depreciation, subject to the following:
                             (1) We will pay the cost of repair or replacement, but not
                             exceeding:
                                    ***
                                    (b) With respect to Coverage A, an amount not
                                    exceeding 20% greater than the limit of liability
                                    stated in the declaration, as modified by the Inflation
                                    Protection Provision of the policy;
                                    ***
                     c. Personal property, carpeting and household appliances: at
                     replacement cost but not exceeding the amount needed to repair or
                     replace subject to the following:
                             (1) Our limit of liability for loss to Personal Property shall
                             not exceed the smallest of the following:
                                    (a) Replacement cost with a similar item of like kind
                                    and quality at the time of loss;
                                    ***

(Ex. A, p. 24.) (emphasis added).

       16.      The Home Protector Plus Endorsement may increase the applicable Dwelling

Limits and change the loss settlement terms for Personal Property coverage if certain conditions

are met.

       17.      The Home Protector Plus Endorsement required Defendants to inform Liberty

Mutual within 90 days of the start of any “additions, alterations, or improvements” to the Subject

Dwelling in order to be eligible for the revised loss settlement provisions.




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        LIBERTY MUTUAL’S INVESTIGATION AND COVERAGE POSITION

       18.     On September 5, 2023, Liberty Mutual sent a letter to the Defendants explaining

the findings of its investigation and its coverage position. A copy of the September 5, 2023 letter

is attached as Exhibit B.

       19.     Liberty Mutual’s investigation revealed that, prior to the fire, Defendants made

extensive additions, alterations, or improvements to the Subject Dwelling which increased the

replacement cost by more than $5,000.00. Defendants commenced these additions, alterations, or

improvements in or around March 2023.

       20.     Defendants did not provide notice to Liberty Mutual regarding these renovations.

       21.     As a result, Liberty Mutual explained to Defendants that they are ineligible for the

following provision in the Home Protector Plus Endorsement: B. REPLACEMENT COST

PROVISION - DWELLING AND PERSONAL PROPERTY.

       22.     Defendants are ineligible because Defendants did not notify Liberty Mutual within

90 days of the start of any additions, alterations, or improvements to the Subject Dwelling that

would increase the replacement cost of the dwelling by $5,000 or more.

       23.     Because Defendants have not met the condition, Defendants’ personal property is

valued at Actual Cash Value subject to non-recoverable depreciation and Defendants’ Dwelling

Limits remain at $634,390.40.

       24.     Liberty Mutual has accepted coverage pursuant to the terms, conditions, and

exclusions within the Policy.

       25.     The applicable Dwelling Limits are $634,390.40.

       26.     Defendants contend that Home Protector Endorsement’s Replacement Cost

Provision entitles them to an increase in their policy limits and/or policy limits beyond

$634,390.40, as well as replacement cost for their personal property.


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                         COUNT I – DECLARATORY JUDGMENT
                          PURSUANT TO 28 U.S.C. § 2201, et seq.

       27.     Liberty Mutual incorporates by reference the allegations set forth in the preceding

paragraphs above as if fully restated herein.

       28.     For the reasons set forth above, there is currently an actual and justiciable

controversy related to the Policy.

       29.     The Policy’s Dwelling Limits are $624,400. Those limits increase to $634,390.40

pursuant to the Inflation Protection Endorsement.

       30.     As a result, Liberty Mutual cannot pay more than $634,390.40 for the Loss for the

Subject Dwelling.

       31.     The Defendants failed to follow the requirements of the Home Protector Plus

Endorsement because Defendants did not notify Liberty Mutual within 90 days of the start of any

additions, alterations, or improvements to the Subject Dwelling that would increase the

replacement cost of the dwelling by $5,000 or more.

       32.     As a result, Defendants are ineligible for the “B. REPLACEMENT COST

PROVISION - DWELLING AND PERSONAL PROPERTY” within the Home Protector Plus

Endorsement.

       33.     Because Defendants have not met the conditions set forth in the Home Protector

Plus Endorsement, Defendants’ personal property is valued at Actual Cash Value subject to non-

recoverable depreciation and Defendants’ Dwelling Limits remain at $634,390.40.

       34.     Therefore, Liberty Mutual is entitled to judgment under 28 U.S.C. § 2201(a)

declaring: (1) the applicable Dwelling Limits to the Loss are $634,390.40; (2) Defendants failed

to provide the notice of “additions, alterations or improvements” to the Subject Dwelling, as

required under the Home Protector Plus Endorsement; (3) the “Replacement Cost Provision –



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Dwelling and Personal Property” within the Home Protector Plus Provision does not apply to the

Loss and/or the Subject Dwelling and/or subject personal property.

       WHEREFORE, Liberty Mutual requests that the Court issue an order declaring:

       A.     The Policy’s applicable Dwelling Limits to the Loss are $634,390.40;

       B.     Defendants failed to provide the notice of “additions, alterations or improvements”

to the Subject Dwelling, as required under the Home Protector Plus Endorsement;

       C.     The “Replacement Cost Provision – Dwelling and Personal Property” within the

Home Protector Plus Provision does not apply to the Loss and/or the Subject Dwelling

       Liberty Mutual further requests that the Court grant any other equitable or legal relief to

which Liberty Mutual may be entitled.

                                                Respectfully submitted,

                                                /s/ Rodger L. Eckelberry
                                                Rodger L. Eckelberry (OH 0071207)
                                                Ali I. Haque (OH 0087860)
                                                Mathew G. Drocton (OH 0093742)
                                                Christopher Riedel (OH 101707)
                                                BAKER & HOSTETLER LLP
                                                200 South Civic Center Drive, Suite 1200
                                                Columbus, Ohio 43215
                                                Telephone: 614-228-1541
                                                Facsimile: 614-462-2616
                                                Email:      reckelberry@bakerlaw.com
                                                            ahaque@bakerlaw.com
                                                            mdrocton@bakerlaw.com
                                                            criedel@bakerlaw.com

                                                Attorneys for Plaintiff Liberty Mutual Personal
                                                Insurance Company




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